 Case 7:16-cv-00108-O Document 131 Filed 02/01/19                 Page 1 of 8 PageID 2984



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  Case 7:16-cv-00108-O Document 131 Filed 02/01/19                                  Page 2 of 8 PageID 2985



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Counsel for Movants

 $SSOLFDWLRQIRUDGPLVVLRQIRUWKFRPLQJ
  $SSOLFDWLRQWRZLWKGUDZSHQGLQJ




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Case 7:16-cv-00108-O Document 131 Filed 02/01/19   Page 3 of 8 PageID 2986




                                                                    App. 1
Case 7:16-cv-00108-O Document 131 Filed 02/01/19   Page 4 of 8 PageID 2987




                                                                    App. 2
Case 7:16-cv-00108-O Document 131 Filed 02/01/19   Page 5 of 8 PageID 2988




                                                                    App. 3
Case 7:16-cv-00108-O Document 131 Filed 02/01/19   Page 6 of 8 PageID 2989




                                                                      App. 4
Case 7:16-cv-00108-O Document 131 Filed 02/01/19   Page 7 of 8 PageID 2990




                                                                      App. 5
Case 7:16-cv-00108-O Document 131 Filed 02/01/19   Page 8 of 8 PageID 2991




                                                                      App. 6
